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John Massouh, SBN 24026866
John.massouh@sprouselaw.com
SPROUSE SHRADER SMITH PLLC
701 S. Taylor, Suite 500
P.O. Box 15008
Amarillo, Texas 79105-5008
(806) 468-3300; (806) 373-3454 FAX

Attorneys for FirstCapital Bank of Texas


                          UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                  LUBBOCK DIVISION

IN RE:                                     §
                                           §
REAGOR-DYKES MOTORS, LP                    §         Case No. 18-50214-rlj11
                                           §
Debtor                                     §

IN RE:                                     §
                                           §
REAGOR-DYKES IMPORTS, LP                   §         Case No. 18-50215-rlj11
                                           §         Joint Administered Under
Debtor                                     §         Case No. 18-50214

IN RE:                                     §
                                           §
REAGOR-DYKES AMARILLO, LP                  §         Case No. 18-50216-rlj11
                                           §         Joint Administered Under
Debtor                                     §         Case No. 18-50214

IN RE:                                     §
                                           §
REAGOR-DYKES AUTO COMPANY, LP              §         Case No. 18-50217-rlj11
                                           §         Joint Administered Under
Debtor                                     §         Case No. 18-50214

IN RE:                                     §
                                           §
REAGOR-DYKES PLAINVIEW, LP                 §         Case No. 18-50218-rlj11
                                           §         Joint Administered Under
Debtor                                     §         Case No. 18-50214
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IN RE:                                             §
                                                   §
REAGOR-DYKES FLOYDADA, LP                          §           Case No. 18-50219-rlj11
                                                   §           Joint Administered Under
Debtor                                             §           Case No. 18-50214

                          FIRSTCAPITAL BANK OF TEXAS’S MOTION
                            FOR RELIEF FROM AUTOMATIC STAY

NOTICE OF HEARING:       PLEASE SEE THE “NOTICE” SET FORTH BELOW,
REGARDING THE DEADLINE FOR FILING A RESPONSE TO THIS MOTION AND THE
DATE OF A FINAL HEARING IF A TIMELY RESPONSE IS FILED.

PLEASE FURTHER NOTE THAT THE MOVANT MAY REQUEST A PRELIMINARY
HEARING OR EMERGENCY HEARING PRIOR TO THE RESPONSE DEADLINE OR
FINAL HEARING DATE, WHICH MAY BE THE SUBJECT OF A SEPARATE
NOTICE.


TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE:

         FIRSTCAPITAL BANK OF TEXAS (“FCB”) files this Motion for Relief from

Automatic Stay, and would show the Court as follows:

                                                   I.
                                        JURISDICTION AND VENUE

    1. The Court has jurisdiction over this matter under 28 U.S.C. §§ 157 and 1334. This is a

core proceeding under 28 U.S.C. § 157(b)(2). Venue of this case and this motion is proper under

28 U.S.C. §§ 1408 and 1409.

         2.       The statutory predicate for this Motion is 11 U.S.C. §362.

                                                 II.
                                        FACTUAL BACKGROUND

         1.       Reagor-Dykes Amarillo, LP, Reagor-Dykes Floydada, LP, Reagor-Dykes

Imports, LP, Reagor-Dykes Auto Company, LP, and Reagor-Dykes Plainview, LP (collectively

the "Debtors") filed for relief under Chapter 11 of the Bankruptcy Code on August 1, 2018 (the

“Petition Date”).

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         2.       On June 16, 2017, Debtors, along with a non-debtor entity, Reagor Auto Mall,

Ltd, (collectively “Borrowers”) executed a promissory note in favor of FCB in the original

principal amount of $2,480,789.         This promissory note was renewed and extended by a

promissory note dated June 21, 2018 (the “Note”). As of the Petition Date, the outstanding

amounts due on the obligations under the Note totals $2,442,613.28, which includes principal

and accrued interest.        The obligations under the Note are all due and owing. Interest and

attorney’s fees continue to accrue on the balance due on the Note. In addition to the obligations

owed under the Note, Borrowers combined owe obligations to FCB in excess of $9,000,000.

         3.       To secure the obligations under the Note, on June 16, 2017, and then again on

June 21, 2018, Borrowers executed a security agreement (the “Security Agreement”) covering

the collateral set forth therein, including the pledging a certificate of deposit containing

certificate number 52500 dated June 9, 2017 (the “CD”). The Security Agreement provides that

acts as security for “[a]ll present and future debts from [Borrowers] to [FCB], even if this

Agreement is not specifically referenced, the future debts are also secured by other collateral, or

if the future debt is unrelated to or of a different type of debt.” Accordingly, the Security

Agreement not only secures the specific obligations under the Note, but also secures all other

obligations owed to FCB by the Borrowers.

         4.       True and correct copies of the Note and Security Agreement are attached hereto

as Exhibits 1 and 2, respectively, and incorporated herein by reference. The Note and Security

Agreement shall be collectively referred to as the “Loan Documents” or individually as defined.

         5.       Borrowers are in default under the terms of the Loan Documents under the terms

of the Loan Documents. Because of the defaults under the Loan Documents, FCB seeks and is




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entitled to relief from the automatic stay in order to apply the CD to the outstanding obligations

owed to FCB under the Note or otherwise.

                                                 II.
                          REQUEST FOR RELIEF FROM THE AUTOMATIC STAY

         6.       FCB requests the Court to grant relief from the automatic stay under section 362

to allow FCB to apply the CD to the outstanding amounts due and owing by the Borrowers.

Such relief is authorized under Bankruptcy Code section 362(d).

         7.       “[T]he party opposing stay relief has the ultimate burden of persuasion as to all

issues except the existence of equity, but the party requesting relief from the automatic stay must

sustain an initial burden of production or going forward with evidence to establish that a prima

facie case for relief exists before the debtor is obligated to go forward with his proof.” In re

Kleibrink, 346 B.R. 734, 760 (Bankr. N.D. Tex. 2006) (citing 11 U.S.C. § 362(g)).

         8.       Pursuant to 11 U.S.C. § 362, all persons are enjoined from any act to obtain

possession of property of the estate or to perfect or enforce liens against property of the estate.

See 11 U.S.C. § 362(a)(3,4,5). However, a creditor is entitled to have the automatic stay

terminated “for cause,” including a failure to provide adequate protection for an interest in

property of a party in interest. See 11 U.S.C. § 362(d)(1).Moreover, under 11 U.S.C. § 362(d)(2)

the Court shall grant relief from stay if: (A) the debtor does not have any equity in such property;

and (B) such property is not necessary to an effective reorganization. The stay should be lifted

because FCB’s security interest is not adequately protected, the CD is not necessary for an

effective reorganization, and Debtors have no equity in the CD. See 11 U.S.C. § 362(d)(1),(2).

         9.       FCB’s security interests are not adequately protected because Debtors do not have

the ability to pay the outstanding obligations owed to FCB. Cause exists to lift the stay. See 11




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U.S.C. § 362(d)(1). The Debtors cannot meet their burden of proof as to adequate protection and

they are unable to provide FCB with any adequate protection.

         10.      In addition, there is no equity in the CD and the CD is not necessary for an

effective reorganization.        First, there is no equity in the CD as the amount of the CD is

significantly less than the combined obligations owed to FCB, which total in excess of

$11,000,000 owed by the Borrowers.

         11.      Likewise, the CD is not necessary for an effective reorganization. Debtor has the

burden of proof to establish that there is “a reasonable possibility of a successful reorganization

within a reasonable time.” United Sav. Ass’n of Tex. v. Timbers of Inwood Forest Assocs., 484

U.S. 365, 376 (1988). This requires more than a mere showing that there is conceivably some

means by which the debtor can effectively reorganize. Id. at 375-76. “A reasonable possibility

[of successful reorganization] cannot be grounded solely on speculation and the Debtor cannot

meet its burden of proof through conjecture and speculation.” In re Anderson Oaks (Phase I)

Ltd., Partnership, 77 B.R. 108, 110 (Bankr. W.D. Tex. 1987). Instead, Debtor must show that

there is an effective reorganization “in prospect.” Timbers, 484 U.S. at 375-76. The fact that it is

early in the bankruptcy process is not an absolute bar to requiring Debtor to establish that it has a

reasonable prospect of effectively reorganizing. See Anderson Oaks, 77 B.R. 108 (granting

motion for relief from stay based on lack of ability to effectively reorganize “almost immediately

after the bankruptcy filings”).

         12.      In fact, the Debtors have no intention of reorganizing. The Debtors have started

(and the Court has granted) the process for a sale pursuant to section 363 of the Bankruptcy

Code. As such, the Debtors have no intention of reorganizing and, therefore, the CD would not

be necessary for any reorganization efforts.



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         13.      Therefore, FCB asks the Court to terminate the stay to allow it to exercise its

rights with respect to the CD pursuant to the Loan Documents.

         14.      FCB seeks all other relief to which it may be entitled under 11 U.S.C. §362 or

alternatively, §105, as necessary to preserve and protect its interest in and to the collateral.

Therefore, FCB asks the Court to terminate the stay to allow it to exercise its state law rights

with respect to the collateral.

         15.      FCB asks the Court waive the stay afforded by Rule 4001(a)(3) of the Federal

Rules of Bankruptcy Procedure so that its Order may take effect immediately

                                               III.
                                        RELIEF REQUESTED

         WHEREFORE, PREMISES CONSIDERED, FCB requests that this Court enter an order

terminating the automatic stay with respect to it, award reasonable attorneys’ fees, and grant such

other and further relief as it may be entitled.



                                                  Respectfully submitted,

                                                  John Massouh, SBN 24026866
                                                  John.massouh@sprouselaw.com
                                                  SPROUSE SHRADER SMITH PLLC
                                                  701 S. Taylor, Suite 500
                                                  P.O. Box 15008
                                                  Amarillo, Texas 79105-5008
                                                  (806) 468-3300; (806) 373-3454 FAX

                                                  /s/ John Massouh
                                                  John Massouh

                                                  Attorneys for FirstCapital Bank of Texas




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                                           NOTICE

NO HEARING WILL BE CONDUCTED HEREON UNLESS A WRITTEN RESPONSE
IS FILED WITH THE CLERK OF THE UNITED STATES BANKRUPTCY COURT AT
1205 TEXAS AVENUE, ROOM 306, LUBBOCK, TEXAS 79401, BEFORE THE CLOSE
OF BUSINESS FOURTEEN (14) DAYS FROM THE SERVICE OF THIS MOTION.

ANY RESPONSE SHALL BE IN WRITING AND FILED WITH THE CLERK, AND A
COPY SHALL BE SERVED UPON COUNSEL FOR THE MOVING PARTY PRIOR TO
THE TIME DESCRIBED ABOVE. IF NO RESPONSE IS TIMELY FILED, THE
RELIEF REQUESTED SHALL BE DEEMED UNOPPOSED AND THE COURT MAY
ENTER AN ORDER GRANTING THE RELIEF SOUGHT. IF A RESPONSE IS FILED,
A FINAL HEARING WILL BE HELD AT 1:30 PM, OCTOBER 17, 2018, AT 1205 TEXAS
AVENUE, ROOM 314, LUBBOCK, TEXAS 79401.

THE RESPONSE MUST CONTAIN THE INFORMATION REQUIRED BY N.D. TEX.
LOCAL BANKRUPTCY RULE 4001.1(b).

[PLEASE NOTE THAT THE MOVANT MAY REQUEST A PRELIMINARY OR
EMERGENCY HEARING, WHICH MAY BE SET UNDER A SEPARATE NOTICE]



                                  CERTIFICATE OF CONFERENCE

         The undersigned counsel for FirstCapital Bank of Texas certifies that he contacted

counsel for Debtors regarding the relief requested. Debtors’ counsel has not yet responded and it

is assumed that Debtors oppose the relief requested.


                                            /s/ John Massouh
                                            John Massouh




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                                        CERTIFICATE OF SERVICE

         I hereby certify that on October 3, 2018 a true and correct copy of the above and

foregoing was served electronically through the Court's ECF system or mailed in the United

States mail, postage prepaid, to persons entitled to such notice.




                                                /s/ John Massouh
                                                John Massouh
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